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13
14   Attorneys for Plaintiff Matthew Pliskin,
15   as Trustee of the ICPW Nevada Trust

16                           UNITED STATES DISTRICT COURT
                   CENTRAL DISTRICT OF CALIFORNIA (WESTERN DIVISION)
17
18
      MATTHEW PLISKIN, AS TRUSTEE OF THE                   Case. No.: 2:18-cv-09491-FMO(ASx)
19    ICPW NEVADA TRUST
                                                           JOINT RULE 26(f) REPORT
20                   Plaintiff,
                                                           Scheduling Conference: February 28, 2019
21
             -against-                                     at 10 a.m.
22
      ROBERT GOLDSTEIN and DRG
23    STRATEGIC, LLC d/b/a/ MERIDIAN
      GLOBAL,
24
25                   Defendants.

26
27          Plaintiff Matthew Pliskin, as Trustee of the ICPW Nevada Trust, and Defendants Robert
28   Goldstein and DRG Strategic, LLC submit their Joint Rule 26(f) Report pursuant to F.R.C.P. 26(f),



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1    L.R. 26-1, and this Court’s Order Setting Scheduling Conference, dated January 18, 2019, ECF No.

2    18.

3           A.      STATEMENT OF THE CASE

4           Plaintiff’s Statement of the Case

5           This is an action arising out of the collapse of the public company formerly known as

6    Ironclad Performance Wear Corporation, a Nevada corporation, and its wholly owned subsidiary,

7    Ironclad Performance Wear Corporation, a California corporation (collectively, “Ironclad”).

8    Ironclad was a work apparel company specializing in glove technology for plumbers, masonry

9    workers, demolition workers, electricians, and construction workers.

10          Defendant Robert Goldstein, acting through his company, Defendant DRG Strategic, LLC

11   d/b/a Meridian Global (collectively, “Defendants”), assisted three senior Ironclad officers to breach

12   their fiduciary duties to the company through a scheme to manipulate Ironclad’s financial results by

13   acting as the counterparty in several phony round-trip transactions. These sham transactions served

14   no purpose other than to allow the Ironclad officers to falsely boost Ironclad’s reported revenues at

15   critical end-of-fiscal-period moments.

16          On at least three separate occasions beginning in December 2015, the Ironclad officers “sold”

17   goods to Defendants in the final days of a fiscal reporting period. Then, in the succeeding months,

18   Ironclad “purchased” the same goods back from Defendants at a higher price. The purpose of these

19   sham round-trip transactions was to enable the Ironclad officers to improperly recognize the revenue

20   from the sale in one period and then to improperly record the buyback of the same goods (slightly

21   modified with a new label or packaging) as new inventory, without recording a return and without

22   reversing the prior sale or taking a corresponding loss. Defendants received a share of the higher

23   buyback price as their payment for facilitating the Ironclad officers’ scheme to manipulate the

24   company’s financial results.

25          After the Ironclad officers’ scheme was discovered in mid-2017, Ironclad was obligated to

26   disavow its publicly reported financial statements, which triggered an automatic default under its

27   loan covenants. The Ironclad officers’ scheme was a substantial factor in ultimately forcing

28   Ironclad into bankruptcy. See In re. ICPW Liquidation Corporation, a California Corporation, No.



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1    1:17-bk-12408-MB (Bankr. C.D. Cal. filed Sept. 8, 2017). Ironclad’s collapse resulted in

2    shareholder damage in excess of $10 million.

3           Plaintiff has asserted claims against Defendants for 1) aiding and abetting the Ironclad

4    officers’ in breaching their fiduciary duties to Ironclad; and 2) unjust enrichment from their active

5    participation in the Ironclad officers’ scheme.

6           Defendants’ Statement of the Case

7           Prior to 2015, Defendants had done business with employees of Ironclad while they were at

8    Ironclad and while they were with other companies. In 2015, Ironclad contacted Goldstein in

9    connection with certain gloves Ironclad owned that were in Canada. Ironclad informed Goldstein

10   that due to litigation in Canada, Ironclad was restricted from selling the gloves with the current

11   labels and that Ironclad was itself restricted from relabeling the gloves. Ironclad asked Goldstein to

12   purchase the gloves and have them relabeled and to attempt to sell them in offshore markets. The

13   parties agreed that DRG would purchase the gloves, have them relabeled and then DRG could

14   attempt to sell them into offshore markets. If DRG was unable to sell any or all of the relabeled

15   gloves into offshore markets, Ironclad would purchase the relabeled gloves from DRG at an agreed

16   upon price. Goldstein contacted several of the overseas factories and persons with whom DRG had

17   done business in the past and none expressed a real interest and expressed various concerns. When

18   DRG could not find an entity to relabel the gloves, Ironclad gave him the name of a person at a

19   relabeling company, AMS. Goldstein contacted AMS and AMS agreed to accept the gloves, relabel

20   them and then ship them to a location or locations that would be provided to AMS after relabeling

21   was completed. After arranging to have and having the gloves shipped to AMS and relabeled, DRG

22   tried but was unsuccessful in selling the gloves to offshore markets. DRG paid AMS for relabeling

23   of the gloves. Pursuant to the parties’ agreement Ironclad purchased the relabeled gloves from

24   DRG. Ironclad contacted DRG on two other occasions in connection with this same agreement.

25   Each time the gloves were relabeled and DRG was unable to sell any of the gloves into offshore

26   markets and sold them to Ironclad. Upon information and belief, after DRG sold the relabeled

27   gloves to Ironclad, Ironclad was successful in selling the relabeled gloves.

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1           Neither Defendant was ever aware of any accounting issues or other financial dealings of

2    Ironclad or of any employees of Ironclad. At no time did anyone from Ironclad tell either Defendant

3    they were entering into the transactions concerning the gloves in order to change, alter or otherwise

4    affect any promises that were made, sales forecasts, inventory values, revenues or growth numbers.

5    At no time did anyone from Ironclad tell either Defendant about any representations Ironclad

6    management or anyone else made to the Ironclad’s Board of Directors, including about Ironclad’s

7    projected sales, revenue growth, inventory values, or any other financial information about Ironclad.

8           Plaintiff asserts claims with absolutely no evidence to support same. One of the essential

9    elements of a claim for aiding and abetting a breach of fiduciary duty is the third party was aware of

10   and knowingly participated in the breach of that fiduciary relationship. Plaintiff has offered and

11   there exists no evidence that either DRG or Goldstein was aware that either was participating in an

12   alleged breach of a fiduciary relationship. This is especially true as both DRG and Goldstein were

13   informed after the first transaction that Ironclad successfully sold the relabeled gloves and were

14   subsequently informed Ironclad sold all of the gloves that were the subject of the two subsequent

15   transactions. Neither DRG nor Goldstein were aware at any time of Ironclad’s financial reporting

16   periods, Ironclad’s stated or forecasted sales, Ironclad’s stated or forecasted inventory values, what

17   Ironclad executives told the Ironclad Board, what Ironclad had stated in any of its financial reports,

18   or any other financial information about Ironclad.

19          B.      SUBJECT MATTER JURISDICTION

20          This Court has subject matter jurisdiction over this action under 28 U.S.C. § 1332 because

21   there is complete diversity of citizenship between the parties and the amount in controversy exceeds

22   $75,000.

23          C.      LEGAL ISSUES

24          The parties anticipate key legal issues in this case will include the mental state required to

25   establish a claim for aiding and abetting a breach of fiduciary duty, and the evidence sufficient to

26   establish same.

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1            D.      PARTIES AND EVIDENCE

2            Plaintiff Matthew Pliskin is the Trustee of the ICPW Nevada Trust (the “Trust”), which is the

3    successor in interest to Ironclad and exists for the benefit of the former shareholders of Ironclad.

4    The Trust was created pursuant to an approved liquidation plan in the bankruptcy proceeding. As

5    Trustee, Mr. Pliskin is directed and authorized to investigate and bring claims on behalf of the Trust.

6    Mr. Pliskin is a citizen of the state of Florida.

7            Plaintiff anticipates that his main witnesses will include 1) employees of Advantage Media

8    Services (“AMS”), Ironclad’s warehouse and logistics vendor, located in California; 2) Defendant

9    Robert Goldstein; 3) Jeffrey Cordes, former Ironclad CEO, now living in Michigan; 4) William

10   Aisenberg, former Ironclad CFO, now living in Texas; and 5) Thomas Felton, former Ironclad SVP–

11   Supply Chain, now living in Texas.

12           Plaintiff anticipates that his key documentary evidence will consist of documents concerning

13   the three round-trip transactions between Ironclad and Defendants identified in the Complaint, ECF

14   No. 1, at ¶¶ 15-24, including documents reflecting the transactions themselves as well as

15   communications concerning those transactions.

16           Defendant DRG Strategic, LLC, d/b/a Meridian Global, is a Texas limited liability company.

17   DRG Strategic, LLC has two members, Defendant Robert Goldstein and Deborah Goldstein, both

18   citizens of the state of Texas.

19           Defendants anticipate their main witnesses will include 1) Jeffrey Cordes, former Ironclad

20   CEO, who Defendants believe lives in Michigan; 2) William Aisenberg, former Ironclad CFO, who

21   Defendants believe lives in Texas; and 3) Thomas Felton, former Ironclad SVP–Supply Chain, who

22   Defendants believe lives in Texas.

23           Defendants anticipate the key documentary evidence will consist of documents concerning

24   the three transactions between Ironclad and Defendants identified in the Complaint, ECF No. 1, at ¶¶

25   15-24, including documents reflecting the transactions themselves as well as communications

26   concerning those transactions.

27           E.      INSURANCE

28           None.



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1           F.        MAGISTRATE JUDGE

2           The parties do not consent to a mutually agreeable magistrate judge from the Court’s

3    Voluntary Consent list to preside over this action for all purposes, including trial.

4           G.        DISCOVERY

5           The parties propose the following discovery schedule:

6
7         Event                             Date
8         Initial Disclosures               Within 21 days of an Order from this Court resolving
9                                           Defendants’ Motion to Dismiss and the Court’s February
10                                          11, 2019 Order regarding briefing on the question of
11                                          transfer pursuant to 28 U.S.C. § 1404(a)
12        Requests for Documents            July 30, 2019
13        Interrogatories                   July 30, 2019
14        Requests for Admission            July 30, 2019
15        All Fact Discovery                August 30, 2019
16        Expert Disclosures                September 20, 2019
17        Rebuttal Expert Disclosures       October 17, 2019
18        All Expert Discovery              December 19, 2019
19
20          H.        MOTIONS

21          Currently pending before the Court is Defendants’ Motion to Dismiss, ECF No. 15. The

22   parties also intend to submit briefing on the question of transfer under 28 U.S.C. § 1404(a) in

23   accordance with the Court’s February 11, 2019 Order, ECF. No. 28.

24          At the present time, Plaintiff does not anticipate making any motions seeking to add other

25   parties or claims, or file amended pleadings.

26          Defendants anticipate the possibility of making a motion for judgment on the pleadings under

27   F.R.C.P. 12(c)

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1           I.      CLASS CERTIFICATION

2           Not applicable.

3           J.      DISPOSITIVE MOTIONS

4           Defendants contemplate filing a motion for summary judgment under F.R.C.P. 56 to resolve

5    all claims against them.

6           The parties propose that any dispositive motions shall be filed with the Court on or before

7    January 9, 2020, with a motion hearing date of February 6, 2020.

8           K.      SETTLEMENT / ALTERNATIVE DISPUTE RESOLUTION

9           The parties have engaged in settlement discussions, including multiple discussions by

10   telephone concerning the terms of a potential settlement. While the parties are optimistic that they

11   may be able to reach a mutually agreeable resolution of this matter, it remains uncertain whether this

12   will happen.

13          The parties agree, pursuant to L.R. 16-15.4, to appear before the district judge or magistrate

14   judge assigned to the case for such settlement proceedings as the judge may conduct or direct.

15          L.      PRETRIAL CONFERENCE AND TRIAL

16          The parties propose the following dates for the pretrial conference and trial:

17
18        Event                                                            Date
19        Pretrial filings under L.R. 16-4, 16-5 & 16-6                    February 20, 2020
20        Final pretrial conference order under L.R. 16-7                  February 28, 2020

21        Pretrial conference                                              March 12, 2020
22        Trial                                                            April 13, 2020

23
24          M.      TRIAL ESTIMATE

25          The parties estimate that the trial will require 5 days. The matter will be tried before a jury.

26   Plaintiff estimates calling 7 witnesses for his case-in-chief. Defendants estimate calling 4 witnesses

27   in their defense.

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1           N.      TRIAL COUNSEL

2           Andrew T. Solomon, of Solomon & Cramer LLP, will serve as trial counsel for Plaintiff.

3           Bernie E. Hauder, of Adkerson Hauder & Bezney, P.C., will serve as trial counsel for

4    Defendants.

5           The parties reserve the right to designate additional trial counsel.

6           O.      INDEPENDENT EXPERT OR MASTER

7           The parties agree that the appointment of a master, pursuant to F.R.C.P. 53, or an

8    independent scientific expert is not warranted at this time.

9           P.      OTHER ISSUES

10          None.

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1                                                        Respectfully submitted,

2
     Dated: February 14, 2019                            DENTONS US LLP
3
                                                         By: /s/ Ahmed (“Andy”) R. Jinnah
4                                                        Samuel R. Maizel
                                                         Tania M. Moyron
5
                                                         Ahmed (“Andy”) R. Jinnah
6
7                                                        SOLOMON & CRAMER LLP
                                                         By: /s/ Andrew T. Solomon
8                                                        Andrew T. Solomon (admitted pro hac vice)
9                                                        Nathan B. Roberts (admitted pro hac vice)

10                                                       Attorneys for Plaintiff Matthew Pliskin, as
11                                                       Trustee for the ICPW Nevada Trust

12
13   Dated: February 14, 2019                            LTL ATTORNEYS LLP
                                                         By: /s/ Joe H. Tuffaha
14
                                                         Joe H. Tuffaha
15                                                       Prashanth Chennakesavan
16
                                                         ADKERSON HAUDER & BEZNEY, P.C.
17
                                                         By: /s/ Bernie E. Hauder
18
                                                         Bernie E. Hauder (admitted pro hac vice)
19
20                                                       Attorneys for Defendants Robert Goldstein and
                                                         DRG Strategic, LLC
21
22                             Certification Pursuant to Local Rule 5-4.3.4(a)(2)

23            I attest that all other signatories listed, and on whose behalf the filing is submitted, concur in
24   the filing’s content and have authorized the filing.

25   Dated: February 14, 2019                            By: /s/ Nathan B. Roberts
26                                                       Nathan B. Roberts

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28



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                                                                                     JOINT RULE 26(f) REPORT
